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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           FORT LAUDERDALE DIVISION


                                                                 CASE NO.: 19-24331-PDR
                                                          PROCEEDING UNDER CHAPTER 13

IN RE:

RALPH LEVI SANDERS JR.


DEBTOR____________________ /


                NOTICE OF REFUND OF MEDIATOR FEE TO DEBTOR

       PLEASE TAKE NOTICE that MEDIATOR HAS REFUNDED TO DEBTOR THE

PREVIOUSLY PAID LOSS MITIGATION/MORTGAGE MODIFCATION MEDIATOR FEE

OF $300.00 (three-hundred dollars and zero cents).

       RESPECTFULLY SUBMITTED this 7th day of January 7, 2021.


                                                     /s/Christian A. McCue_____________
                                                     CHRISTIAN A. MCCUE, ESQUIRE
                                                     AS MMM MEDIATOR
                                                     6245 N FEDERAL HWY STE 418
                                                     FORT LAUDERDALE, FL 33308
                                                     EMAIL: christian.mccue@mccuelaw.com



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[All Parties to Mediation]
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                                                     Printed from Chase for Business


You've set up the following payment
Ralph L. Sanders, Jr....4331 (...4331)

Pay from                            Amount                  Send on                 Deliver by                          Status
BUSINESSSELECT                      $300.00                 Jan 5, 2021             Jan 12, 2021                        Funded
CHKG (...0160)

Memo                                Transaction number
Mediator Fee                        10948817545
Refund Christian
McCue




https://secure05b.chase.com/web/auth/dashboard#/dashboard/payMultipleBills/payments/confirm;payeeId=1265666625;payeeType=MERCHANT   1/1
